
MEMORANDUM**
Marvin S. Ekkelkamp appeals his conviction and sentence imposed after a jury trial for bankruptcy fraud, in violation of 18 U.S.C. § 157(1) and use of a false social security number, in violation of 42 U.S.C. § 408(a)(7)(B).
Pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), counsel for Ekkelkamp has filed a brief stating that there are no meritorious issues for review, and a motion to withdraw as counsel of record. Ekkelkamp has filed a pro se supplemental brief.1
*625Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 88, 109 S.Ct. 846, 102 L.Ed.2d 300 (1988), discloses no further issues for review. Counsel’s motion to withdraw is GRANTED and the judgment of the district court is AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3.


. All pending motions are denied.

